                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION

                                 Case No. 4:23-CV-00041-M-RN

  DARRON ANTONIO CARMON,

          Plaintiff,

  V.                                                                        ORDER

  TOWN OF WINTERVILLE, DONNIE
  GREENE, EMMANUEL ARMAOS, and
  JOHN DEREK ENNIS, in their individual
  and official capacities,

          Defendants.


       This matter comes before the court on Plaintiff's Consent Motion for Dismissal with

Prejudice. [DE 68]. Plaintiff advises that Defendant Emmanuel Armaos ("Armaos") died on July

4, 2024, and that " [a]ll remaining parties, their attorneys and representatives negotiated the full

and final settlement of all claims, including those made against Armaos, at a mediated settlement

conference held on October 1, 2024." Id. Pursuant to Rule 41(a)(2) of the Federal Rules of Civil

Procedure and for good cause shown, the motion is GRANTED. All claims brought by Plaintiff

against the defendants are DISMISSED WITH PREJUDICE. Each party shall bear their own costs

and fees. The Clerk is DIRECTED to close the case.



       SO ORDERED this
                                 ~ day of December, 2024.
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                                              RICHARD E. MYERS II
                                              CHIEF UNITED STATES DISTRICT JUDGE




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